            Case 3:18-cv-01388-HZ       Document 20       Filed 06/04/19     Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON



BENJAMIN KERENSA,                                            No. 3:18-cv-01388-HZ

                       Plaintiff,                            ORDER

       v.

U.S. DEPARTMENT OF HOMELAND
SECURITY,

                       Defendant.


HERNÁNDEZ, District Judge:

       Pro Se Plaintiff Benjamin Kerensa brings this civil rights action against Defendant U.S.

Department of Homeland Security. Plaintiff moves for an Order of Default pursuant to Federal

Rule of Civil Procedure 55(a). Pl. Mot. Entry Default, ECF 19. The Court denies Plaintiff’s

Motion.

       Rule 55(a) requires the entry of default when “a party against whom a judgment for

affirmative relief is sought has failed to plead or otherwise defend, and that failure is shown by

affidavit or otherwise[.]” Fed. R. Civ. P. 55(a). Although Rule 55(a) uses mandatory language,

the Court’s responsibility to enter a default order does not arise unless the party against whom



1- ORDER
           Case 3:18-cv-01388-HZ            Document 20     Filed 06/04/19      Page 2 of 3




the default order is sought has been properly served with process. See Beverly O’Connell, Karen

Stevenson, & Virginia Phillips, Fed. Civil Proc. Before Trial ¶ 6:36, 6-8 (The Rutter Group

2018) (“Ordinarily, entry of default is not automatic. Plaintiff must present proof to the court

clerk (by affidavit or declaration) that the defendant is 'in default' - i.e., that defendant has been

served with summons and complaint . . . and has failed to respond within the time permitted by

the Federal Rules.”); Cascade Pension Tr. v. Bates Indus., Inc., No. 6:16-cv-01068-AA, 2017

WL 1172104, at *1 (D. Or. Mar. 28, 2017) (granting Rule 55(a) motion for entry of default after

determining that service was proper and the defendant never appeared). “Before a default can be

entered, the court must have subject-matter jurisdiction and jurisdiction over the party against

whom the judgment is sought, which also means that the party must have been effectively served

with process.” Wright & Miller, 10A Fed. Prac. & Proc. Civ. § 2682 (4th ed.)

        Federal Rule of Civil Procedure 4(i) governs service on the United States and its

agencies, corporations, officers, and employees. “To serve a United States agency . . . , a party

must serve the United States and also send a copy of the summons and of the complaint by

registered or certified mail to the agency[.]” Fed. R. Civ. P. 4(i)(2). In order to serve the United

States, Rule 4(i)(1) requires a party to:

        (A)(i) deliver a copy of the summons and of the complaint to the United States
               attorney for the district where the action is brought—or to an assistant
               United States attorney or clerical employee whom the United States
               attorney designates in a writing filed with the court clerk—or

                (ii) send a copy of each by registered or certified mail to the civil-process
                     clerk at the United States attorney’s office;

        (B) send a copy of each by registered or certified mail to the Attorney General of
            the United States at Washington D.C[.]

        Here, it appears that neither the Attorney General nor the U.S. Attorney for this district

was served as required by Rule 4(i). Though Plaintiff’s affidavit and the Return of Service filed


2- ORDER
           Case 3:18-cv-01388-HZ        Document 20       Filed 06/04/19     Page 3 of 3




by the U.S. Marshals Service indicate that Defendant was served by certified mail, Kerensa Aff.

¶ 2, ECF 19; Return of Service, ECF 18, there is no evidence that the U.S. Attorney or the

Attorney General in Washington D.C. were also served. Because service was improper, the

Court declines to enter an order of default against Defendant.

       However, as Plaintiff proceeds pro se in this matter, the Court will allow Plaintiff an

additional 90 days to serve Defendant with the Summons and Complaint through the U.S.

Marshals Service. In providing the U.S. Marshals with the requisite information and documents

for service, Plaintiff shall refer to Rule 4(i) for service on a U.S. Agency, as described above, and

the “Instructions for Service of Process by U.S. Marshal” included with form USM-285.

                                         CONCLUSION

       Plaintiff’s Motion for Entry of Default [19] is DENIED. Plaintiff shall have 90 days from

the date of this Order to serve Defendant.

       IT IS SO ORDERED.



                       Dated this ___________ day of__________________, 2019.




                                                      MARCO A. HERNÁNDEZ
                                                      United States District Judge




3- ORDER
